Case 1:12-cv-03292-MSK-MEH Document 1 Filed 12/18/12 USDC Colorado Page 1 of 9




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

                               COURT FILE NO.: _________________


  DOUGLAS WELLS, on behalf of himself
  and others similarly situated,

          Plaintiff

  v.

  JP MORGAN CHASE BANK, N.A.,

        Defendant
  ________________________________________________________________________

                 CLASS ACTION COMPLAINT AND JURY DEMAND
  ________________________________________________________________________


          Plaintiff, Douglas Wells, files this Class Action Complaint and Jury Demand on behalf of

  himself and a class of persons similarly situated.     The allegations herein are based upon

  Plaintiff’s personal knowledge as to his own actions and conduct, and upon information and

  good-faith belief as to all other matters set forth.

                                        NATURE OF ACTION

          1.      This is an action brought under the Telephone Consumer Protection Act

  (―TCPA‖), 47 U.S.C. § 227.

          2.      Section 227(b)(1)(A)(iii) of the TCPA sets forth restrictions on the use of

  automated telephone equipment and artificial or prerecorded voice calls, providing in pertinent

  part:




                                                     1
Case 1:12-cv-03292-MSK-MEH Document 1 Filed 12/18/12 USDC Colorado Page 2 of 9




          It shall be unlawful for any person within the United States, or any person outside
          the United States if the recipient is within the United States –

          (A)    to make any call (other than a call made for emergency purposes or made
                 with the prior express consent of the called party) using any automatic
                 telephone dialing system or an artificial or prerecorded voice –

                                                  *****

          (iii)   to any telephone number assigned to a paging service, cellular telephone
          service, specialized mobile radio service, or other radio common carrier service,
          or any service for which the called party is charged for the call.

                                    JURISDICTION AND VENUE

          3.     This Court has subject matter jurisdiction pursuant to 47 U.S.C. § 227(b)(3) and

  28 U.S.C. § 1331. See Mims v. Arrow Fin. Servs., L.L.C., 132 S. Ct. 740 (2012).

          4.     Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), where the acts

  and transactions giving rise to Plaintiff’s action occurred in this district, where Plaintiff resides in

  this district, and/or where Defendant transacts business in this district.

                                                PARTIES

          5.     Plaintiff, Douglas Wells, is a natural person who at all relevant times resided in

  the State of Colorado, County of Jefferson, and City of Wheat Ridge.

          6.     Defendant, JPMorgan Chase Bank, N.A., is an entity chartered as a National

  Bank.

          7.     Defendant describes itself on its website as ―a leading global financial services

  firm with assets of $2.3 trillion,‖ operating in more than 60 countries and serving ―millions of

  consumers, small businesses and many of the world’s most prominent corporate, institutional and

  government clients.‖ http://www. jpmorganchase.com/corporate/About-JPMC/about-us.htm.

          8.     Defendant’s headquarters is located at 1111 Polaris Parkway, Columbus, Ohio

  43240. Defendant may be served at that address.


                                                     2
Case 1:12-cv-03292-MSK-MEH Document 1 Filed 12/18/12 USDC Colorado Page 3 of 9




                                   FACTUAL ALLEGATIONS

         9.      Prior to May 2012, Defendant began placing telephone calls to Plaintiff’s cellular

  telephone number.

         10.     Plaintiff, via his counsel, sent Defendant written correspondence dated May 22,

  2012, regarding his account ending in 5618, and in such correspondence, notified Defendant that

  he was represented by counsel and demanded that Defendant cease and desist from engaging in

  any and all direct communications with Plaintiff, telephonic or otherwise.

         11.     The May 22, 2012 letter was written by Tracey Tiedman, an attorney at Weisberg

  & Meyers, LLC, and sent to Chase Card Services. It stated, in relevant part:

                 Please be advised that this office represents the above-named individual regarding
         the aforementioned account.

                 Having been formally notified of our representation, we respectfully demand you
         not contact our client for any reason. Instead, please direct all future contact and
         correspondence to this office and in fact consider this letter express and unequivocal
         revocation of any permission our client may have provided you to call them….. We
         reserve the right to seek injunctive relief and damages under federal and state law should
         you fail to honor these directives.

         12.     Upon information and good-faith belief, Defendant received Plaintiff’s notice of

  representation and request to cease and desist communications on or before May 28, 2012—the

  date on which Defendant responded to the May 22, 2012 letter.

         13.     Despite Plaintiff’s express and unequivocal revocation of consent, if any existed,

  for Defendant to place any calls to Plaintiff, Defendant placed non-emergency calls to Plaintiff’s

  cellular telephone using an automatic dialing system and/or an artificial or prerecorded voice,

  including, but not limited to, calls placed on the following dates and times: July 17, 2012 at 3:09

  P.M.; July 24, 2012 at 3:09 P.M.; August 14, 2012 at 8:05 A.M.; August 21, 2012 at 11:03 A.M.;

  August 21, 2012 at 3:13 P.M.; August 22, 2012 at 8:07 A.M.; August 23, 2012 at 2:14 P.M.;



                                                  3
Case 1:12-cv-03292-MSK-MEH Document 1 Filed 12/18/12 USDC Colorado Page 4 of 9




  August 29, 2012 at 8:03 A.M.; August 30, 2012 at 10:11 A.M.; and August 30, 2012 at 12:20

  P.M.

          14.     Upon information and good-faith belief, Defendant maintains business records

  that show all calls Defendant placed to Plaintiff’s cellular telephone number.

          15.     Upon information and good-faith belief, the telephone calls identified above were

  placed to Plaintiff’s cellular telephone number using an automatic telephone dialing system.

          16.     Defendant did not place any telephone calls to Plaintiff for emergency purposes.

          17.     Defendant did not have Plaintiff’s prior express consent to call Plaintiff on his

  cellular telephone number—any consent, if it existed, having been expressly revoked via the

  May 22, 2012 letter.

          18.     Upon information and good-faith belief, Defendant placed the telephone calls to

  Plaintiff voluntarily.

          19.     Upon information and good-faith belief, Defendant placed the telephone calls to

  Plaintiff under its own free will.

          20.     Upon information and good-faith belief, Defendant had knowledge that it was

  using an automatic telephone dialing system and/or an artificial or prerecorded voice to make

  and/or place each of the telephone calls identified above.

          21.     Upon information and good-faith belief, Defendant intended to use an automatic

  telephone dialing system and/or an artificial or prerecorded voice to make and/or place each of

  the telephone calls identified above.

                                 CLASS ACTION ALLEGATIONS

          22.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

  Procedure 23(a), (b), and (c) as a representative of the following Class:



                                                   4
Case 1:12-cv-03292-MSK-MEH Document 1 Filed 12/18/12 USDC Colorado Page 5 of 9




         All persons and entities throughout the United States (1) to whom Defendant
         made or caused to be made calls (2) directed to a number assigned to a cellular
         telephone, by (3) using an automatic telephone dialing system or an artificial or
         prerecorded voice, from four years prior to the filing of the initial complaint in
         this action to the present.

         23.       The proposed Class specifically excludes the United States of America, the State

  of Colorado, counsel for the parties, the presiding United States District Court Judge, the Judges

  of the United States Court of Appeals for the Tenth Circuit, and the Justices of the United States

  Supreme Court, any entity in which Defendant has or had a controlling interest, all officers and

  agents of Defendant, and all persons related to within the third degree of consanguinity or

  affection to any of the foregoing individuals.

         24.       The Class is averred to be so numerous that joinder of all members is

  impracticable.

         25.       The exact number of members of the Class is unknown to Plaintiff at this time

  and can be ascertained only through appropriate discovery.

         26.       Upon information and good-faith belief, the proposed Class is ascertainable in

  that the names and addresses of all members of the Class can be identified in business records

  maintained by Defendant.

         27.       There exists a well-defined community of interest in the questions of law and fact

  involved that affect the parties to be represented. Issues of law and fact common to the members

  of the Class predominate over any questions that may affect only individual members, in that

  Defendant has acted on grounds generally applicable to the entire Class. Such issues include, but

  are not limited to:

               a) Defendant’s violations of the TCPA as alleged herein;




                                                   5
Case 1:12-cv-03292-MSK-MEH Document 1 Filed 12/18/12 USDC Colorado Page 6 of 9




               b) Defendant’s use of an automatic telephone dialing system and/or an artificial or

                  prerecorded voice;

               c) Defendant’s identical conduct particular to the matters at issue;

               d) Whether Defendant acted voluntarily, under its own free will, had knowledge that

                  it was using an automatic telephone dialing system and/or an artificial or

                  prerecorded voice, and intended to use an automatic telephone dialing system

                  and/or an artificial or prerecorded voice; and

               e) the availability of statutory penalties.

         28.      Plaintiff’s claims are typical of the claims of the members of the Class he seeks to

  represent.

         29.      Plaintiff and all members of the Class’s claims originate from the same conduct,

  practice, and procedure on the part of Defendant, and Plaintiff possesses the same interests and

  has suffered the same injuries as each Class member. Like all proposed members of the Class,

  Plaintiff received telephone calls from Defendant using an automatic telephone dialing system,

  and/or an artificial or prerecorded voice, in violation of 47 U.S.C. § 227. Thus, if brought and

  prosecuted individually, the claims of each of the members of the Class would require proof of

  the same material and substantive facts.

         30.      Plaintiff will fairly and adequately protect the interests of the members of the

  Class and has no interests that are contrary to or in conflict with the members of the Class.

         31.      Plaintiff is willing and prepared to serve this Court and the proposed Class.

         32.      Plaintiff has retained the services of counsel who are experienced and competent

  in consumer protection claims, as well as complex class action litigation, will adequately

  prosecute this action, and will assert, protect, and otherwise represent Plaintiff and all absent



                                                     6
Case 1:12-cv-03292-MSK-MEH Document 1 Filed 12/18/12 USDC Colorado Page 7 of 9




  Class members.

          33.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(1)(A) and

  23(b)(1)(B). The prosecution of separate actions by individual members of the proposed Class

  would, as a practical matter, be dispositive of the interests of other members of the Class who are

  not parties to the action or could substantially impair or impede their ability to protect their

  interests.

          34.    The prosecution of separate actions by individual members of the proposed Class

  would create a risk of inconsistent or varying adjudications with respect to individual members

  of the Class, which would establish incompatible standards of conduct for the parties opposing

  the Class. Such incompatible standards of conduct and varying adjudications, on what would

  necessarily be the same essential facts, proof, and legal theories, would also create and allow the

  existence of inconsistent and incompatible rights within the Class.

          35.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(2) in that Defendant

  has acted or refused to act on grounds generally applicable to the proposed Class, making final

  declaratory or injunctive relief appropriate.

          36.    Class certification is appropriate under Fed. R. Civ. P. 23(b)(3) in that the

  questions of law and fact that are common to members of the proposed Class predominate over

  any questions affecting only individual members.

          37.    A class action is superior to all other available methods for the fair and efficient

  adjudication of this controversy.     As the damages suffered by individual members of the

  proposed Class may be relatively small, the expense and burden of individual litigation make it

  impracticable for the members of the Class to individually redress the wrongs done to them, as

  the costs of pursuit would far exceed what any one plaintiff or Class member has at stake. As a



                                                  7
Case 1:12-cv-03292-MSK-MEH Document 1 Filed 12/18/12 USDC Colorado Page 8 of 9




  result, very little litigation has been commenced over the controversy alleged in this Complaint,

  and individual members are unlikely to have an interest in prosecuting and controlling separate

  individual actions. Furthermore, the concentration of litigation of these claims in one forum will

  achieve efficiency and promote judicial economy.

         38.      There will be no difficulty in the management of this action as a class action.

         39.      Absent a class action, Defendant’s violations of the law will be allowed to

  proceed without a full, fair, judicially supervised remedy.

                                        COUNT I
                           VIOLATION OF 47 U.S.C. § 227(b)(1)(A)(iii)
         40.      Plaintiff repeats and re-alleges each and every allegation above.

         41.      Defendant violated 47 U.S.C. 227(b)(1)(A)(iii) by utilizing an automatic

  telephone dialing system and/or an artificial or prerecorded voice to make and/or place telephone

  calls to Plaintiff’s cellular telephone number.

         42.      Defendant willingly or knowingly violated 47 U.S.C. 227(b)(1)(A)(iii) as

  Defendant was advised that it did not have consent to call Plaintiff’s cellular telephone, yet

  repeatedly used an automatic telephone dialing system and/or an artificial or prerecorded voice

  to make and/or place telephone calls to Plaintiff’s cellular telephone number anyway.

         43.      As a result of Defendant’s violations of 47 U.S.C. 227(b)(1)(A)(iii), Plaintiff and

  the Class are entitled to damages in an amount to be proven at trial.

         WHEREFORE, Plaintiff prays for relief and judgment, as follows:

               a) Determining that this action is a proper class action and designating Plaintiff as

                  class representative of the Class under Federal Rule of Civil Procedure 23;

               b) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);




                                                    8
Case 1:12-cv-03292-MSK-MEH Document 1 Filed 12/18/12 USDC Colorado Page 9 of 9




              c) Enjoining Defendant from continuing its violative behavior with respect to

                 Plaintiff and members of the Class pursuant to 47 U.S.C. § 227(b)(3)(A);

              d) Awarding Plaintiff and members of the Class actual damages, or statutory

                 damages in the amount of $500.00 per violation, whichever is greater, pursuant to

                 47 U.S.C. § 227(b)(3)(B);

              e) Awarding Plaintiff and members of the Class treble damages, pursuant to 47

                 U.S.C. § 227(b)(3), in the amount of $1,500.00 per violation, or three times

                 actual damages, whichever is greater;

              f) Awarding Plaintiff and members of the Class any pre-judgment and post-

                 judgment interest as may be allowed under the law; and

              g) Awarding such other and further relief as the Court may deem just and proper.

                                          TRIAL BY JURY

        44.      Plaintiff is entitled to and hereby demands a trial by jury.

  Dated: December 18, 2012.

                                        Respectfully submitted,


                                         /s/ Tracey N. Tiedman
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                                                   9
